 

FRROBZ?§&) Case 2‘:05-cr-20287-.]PI\/| Document 1 Filed 08/08/05 Page ioféocKI-é_gggl`i_qg|§§ man Coun)
SV. l
03 -
TRANsFER oF wmlechon M CR 977 11
- ar

---.._..__...._.__,_____.U.G. DOCKET NUMBER (Rec. Courf)

NAME ANoADDREss or-' PRoBATloNER/suPEvasED D|Sq§.§ps °'8 FH 3= 36 lDNE|S]ON'£'Q'£-S_?__M - l Hn

 

 

 

 

RELEASEE: _
illinois illoan 130{};_1] Eastern
Stacey Valentine NAME,BS`EBTENQ!RV!§WE
4112 Camelot Avenue ' "
Memphis, Tennessee 33113 Honorable Rebecca R. Pa|lmeyer

 

  
 

DATES OF
PROBAT|ONJ'SUPERV|SED
RELEASE:

 
 
 

 

 

OFFENSE

Student Loan Fraud (20 U.S.C. §1097)

 

PART 1 - ORDER TRANSFERRING JURISD|CT|ON

 

UN|TED STATES D|STR|CT COURT FOR THE "Northern District of minnis "

lT lS HEREB\’ ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the United States District
Court for the Western District of Tennessee upon that Court’s order of acceptance of jurisdiction. This Court
hereby expressly consents that the period of probation or supervised release may be changed by the District
Court to which this transfer is made without further inquiry of this Court.*

 

 

 

gm 71. LOOS

Date

  

 

*'This sentence may be deleted in the discretion of the transferan Court.

PART 2 - ORDER ACCEPT|NG JUR|SDICT|ON

 

 

uNnEo s'rATEs olsTRicr count FoR THE Western District of Tennessee

 

 

lT |S HEREBV ORDERED that jurisdiction over the above-named probationer/supervised releasee
be accepted and assumed by this Court from and after the entry of this order.

@v\ l,zc»o§ }§Q\OWOLM

l
Effe§rive)Date (/ Unite Stafes District Judge

 

 

 

with Ftu|e 55 and/or 32(b) FFtCrP on .

Thls document entered on the docket shoe In compliance m
5 - 135 ,-
/

/

 

TATESDRISTICT OURT -WETER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 1 in
case 2:05-CR-20287 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

Stacey Valentine
41 12 Camelot Avenue
1\/1emphis7 TN 38118

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

